UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
                                                                        :
 Melissa Kaye                                                           :
                                                                        :
                                             Plaintiff(s),              :    ____ CV 12137
                                                                            19       _____ (JPO)
                           -v-                                          :
 NYC H + H et. al.                                                      :      CIVIL CASE
                                                                        :   MANAGEMENT PLAN
                                             Defendant(s).              :    AND SCHEDULING
                                                                        :         ORDER
                                                                        :
------------------------------------------------------------------------X

       This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance
with Fed. R. Civ. P. 26(f)(3).

1.      All parties [consent ______ / do not consent ______]
                                                      X       to conducting all further
        proceedings before a United States Magistrate Judge, including motions and trial.
        28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
        consequences. [If all parties consent, the remaining paragraphs need not be completed.]

2.      Settlement discussions [have ______ / have not ______]
                                                       X       taken place.

3.      The parties [have ______ / have not ______]
                                            X       conferred pursuant to Fed. R. Civ. P. 26(f).

4.      Amended pleadings may not be filed and additional parties may not be joined except with
        leave of the Court. Any motion to amend or to join additional parties shall be filed within
        ______
         45     days from the date of this Order. [Absent exceptional circumstances, thirty (30)
        days.]

5.      Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
        ______
         14      days from the date of this Order. [Absent exceptional circumstances, fourteen
        (14) days.]

6.      Fact Discovery

        a.       All fact discovery shall be completed no later than ______________________.
                                                                     February 15, 2020
                 [A period not to exceed 120 days, unless the Court finds that the case presents
                 unique complexities or other exceptional circumstances.]

        b.       Initial requests for production of documents shall be served by
                 ______________________.
                  October 17, 2019


        c.       Interrogatories shall be served by ______________________.
                                                    October 17, 2019



                                                        1
      d.                                       January 17, 2020
             Depositions shall be completed by _______________________.

      e.                                          October 17, 2019
             Requests to admit shall be served by ______________________.

      f.     Any of the deadlines in paragraphs 6(b) through 6(e) may be extended by the
             written consent of all parties without application to the Court, provided that all
             fact discovery is completed by the date set forth in paragraph 6(a).

7.    Expert Discovery

      a.     All expert discovery, including expert depositions, shall be completed no later
             than ______________________.
                   April 9, 2020                [Absent exceptional circumstances, a date
             forty-five (45) days from the date in paragraph 6(a) (i.e., the completion of all fact
             discovery).]

      b.     Plaintiff’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made on
             or before ______________________.
                        February 15, 2020


      c.     Defendant’s expert disclosures pursuant to Fed. R. Civ. P. 26(a)(2) shall be made
             on or before ______________________.
                          March 15, 2020


      d.     The interim deadlines in paragraphs 7(b) and 7(c) may be extended by the written
             consent of all parties without application to the Court, provided that expert
             discovery is completed by the date set forth in paragraph 7(a).

8.    All motions and applications shall be governed by the Court’s Individual Practices.

9.    All counsel must meet in person to discuss settlement within fourteen (14) days following
      the close of fact discovery.

10.   a.     Counsel for the parties have discussed an informal exchange of information in aid
             of early settlement of this case and have agreed upon the following:

             Plaintiff's Personnel file; any and all documents naming Plaintiff from Corporate Compliance;
             __________________________________________________________________
             Any ESI from named Defendants between 2013 and 2019 with Plaintiff's name in either the body.
             __________________________________________________________________
             or subject; and any and all correspondence and or ESI between Plaintiff and the EEO Office.
             __________________________________________________________________
             Plaintiff has made these requests and Defendants have yet to respond and or produce the requested
             __________________________________________________________________
             documents.
             __________________________________________________________________
             __________________________________________________________________
             Defendants disagree with certain of Plaintiff's requests as overbroad and not relevant to the claims and defenses in this action.

             __________________________________________________________________
             __________________________________________________________________
             __________________________________________________________________




                                                                2
      b.     Counsel for the parties have discussed the use of the following alternate dispute
             resolution mechanisms for use in this case: (i) a settlement conference before a
             Magistrate Judge; (ii) participation in the District’s Mediation Program; and/or
             (iii) retention of a privately retained mediator. Counsel for the parties propose the
             following alternate dispute resolution mechanism for this case:

             Not applicable at this time. Plaintiff has sought discovery to facilitate discussions and Defendants
             __________________________________________________________________
             have not provided any. Therefore although Plaintiff is amenable to settlement at this time, she
             __________________________________________________________________
             does not believe it is in her best interests if she has not received any discovery beforehand.
             __________________________________________________________________
             Defendants disagree with Plaintiff's account of what has transpired to date.
             __________________________________________________________________

      c.     Counsel for the parties recommend that the alternate dispute resolution
             mechanism designated in paragraph 10(b) be employed at the following point in
             the case (e.g., within the next sixty days; after the deposition of plaintiff is
             completed (specify date); after the close of fact discovery):

             __________________________________________________________________
             The parties have not agreed on when ADR should take place.
             __________________________________________________________________
             __________________________________________________________________

      d.     The use of any alternative dispute resolution mechanism does not stay or modify
             any date in this Order.

11.   Unless otherwise ordered by the Court, any summary judgment motion shall be filed
      within fourteen (14) days of the close of all discovery. The parties shall submit a Joint
      Pretrial Order prepared in accordance with Fed. R. Civ. P. 26(a)(3) and the Court's
      Individual Practices within thirty (30) days of a decision on such motion. If no motion
      for summary judgment is filed, the parties shall file the Joint Pretrial Order within
      thirty (30) days of the close of discovery. Any motions in limine shall be filed on or
      before the date on which the Joint Pretrial Order is due. If this action is to be tried
      before a jury, proposed voir dire, jury instructions, and verdict form shall also be filed
      on or before the Joint Pretrial Order due date. Counsel are required to meet and confer
      on a joint submission of proposed jury instructions and verdict form, noting any points
      of disagreement in the joint submission. Jury instructions may not be submitted after
      the Joint Pretrial Order due date, unless they meet the standard of Fed. R. Civ. P. 51(a)
      (2)(A). If this action is to be tried to the Court, proposed findings of fact and
      conclusions of law should be submitted on or before the Joint Pretrial Order due date.

12.                                           May 15, 2020
      The parties shall be ready for trial on ______________________.    [Absent exceptional
      circumstances, a date within two weeks following the Final Pretrial Order due date.]

13.                 X
      This case [is ______ / is not ______] to be tried to a jury.

14.   Counsel for the parties have conferred and their present best estimate of the length of trial
      is ______________________.
         5 days




                                                     3
15.      Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
         Fed. R. Civ. P. 26(f)(3), are set forth below.
         __________________________________________________________________
         The parties' ESI Protocol.
         __________________________________________________________________
         __________________________________________________________________
         __________________________________________________________________


Counsel for the Parties:


Special Hagan, Esq. for Plaintiff Dr. Melissa Kaye
_________________________________                        _________________________________
                                                         Donna A. Canfield




Law Offices of Special Hagan
_________________________________                        _________________________________
                                                         New York City Law Department, Attorneys for Defendants




196-04 Hollis Avenue
_________________________________                        _________________________________
                                                         100 Church Street




Saint Albans, New York 11412
_________________________________                        _________________________________
                                                         New York, N.Y. 10007




                                                            September 17, 2019
       The next Case Management Conference is scheduled for ______________________ at
______________.
12:15PM


        This Order may not be modified or the dates herein extended, except by further Order of
this Court for good cause shown. Any application to modify or extend the dates herein (except
as provided in paragraph 6(f) and 7(d)) shall be made in a written application in accordance with
Court’s Individual Practices and shall be made no less than two (2) business days prior to the
expiration of the date sought to be extended.


         SO ORDERED.
                                                         ____________________________________
                                                                  J. PAUL OETKEN
                                                               United States District Judge

Dated: _______________

         New York, New York




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